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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 13-060
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   DOUGLAS L. SMITH,                    )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit Bank Robbery; Bank Robbery

15 Date of Detention Hearing:     February 5, 2013.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is charged by Complaint, together with six co-conspirators, with



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01 participating in a highly sophisticated, multi-state bank robbery conspiracy allegedly led by

02 members of the Four-Tre Crips, a street gang based in Los Angeles, California, involving large

03 amounts of cash. This factor is relevant to the risk of nonappearance posed by the charged

04 defendants.

05          2.     Defendant resides in Los Angeles with no ties to this community. The AUSA

06 alleges that he was attempting to flee this jurisdiction when arrested pursuant to the instant

07 charges, and alleges that he reported various stories to police about why he was in the area.

08          3.     Defendant is on probation with the State of California and his probation officer

09 does not believe he is a suitable candidate for release based on misconduct during the course of

10 his supervision in that jurisdiction and allegations of continued criminal conduct in this case.

11 Defendant has sustained several probation violations in prior cases, with imposition of

12 sanctions and additional conditions of supervision. He is alleged to associate with known gang

13 members and his place of proposed residence in Los Angeles is alleged to be a place of

14 congregation of known gang members.

15          4.     Defendant poses a risk of nonappearance due to lack of ties to this District, a

16 lack of gainful employment, potential access to large amounts of cash, the likely filing of a

17 probation violation warrant in Los Angeles, and prior violations of supervision.     He poses a

18 risk of danger due to the nature of the charges, alleged association with gang members, and

19 continued law violations while on supervision.

20          5.     There does not appear to be any condition or combination of conditions that will

21 reasonably assure the defendant’s appearance at future Court hearings while addressing the

22 danger to other persons or the community.



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01 It is therefore ORDERED:

02     1. Defendant shall be detained pending trial and committed to the custody of the Attorney

03        General for confinement in a correction facility separate, to the extent practicable, from

04        persons awaiting or serving sentences or being held in custody pending appeal;

05     2. Defendant shall be afforded reasonable opportunity for private consultation with

06        counsel;

07     3. On order of the United States or on request of an attorney for the Government, the

08        person in charge of the corrections facility in which defendant is confined shall deliver

09        the defendant to a United States Marshal for the purpose of an appearance in connection

10        with a court proceeding; and

11     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

12        for the defendant, to the United States Marshal, and to the United State Pretrial Services

13        Officer.

14        DATED this 5th day of February, 2013.

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16                                                      A
                                                        Mary Alice Theiler
17                                                      United States Magistrate Judge

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